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                  UNITED STATES DISTRICT COURT
     IN THE EASTERN DISTRICT OF MICHIGAN–SOUTHERN DIVISION

CYNTHIA ARCHER-GIFT,
Individually and on behalf of others similarly situated,
      Plaintiff,

-vs-                                           Case No. 15-cv-14467
                                               Hon. Avern Cohn
                                               CLASS ACTION COMPLAINT

CITIGROUP, INC.,
THE HOME DEPOT, INC., and
SEARS, ROEBUCK AND CO.
     Defendants.

         FIRST AMENDED CLASS COMPLAINT & JURY DEMAND

       Plaintiff, Cynthia Archer-Gift, individually and on behalf of others similarly

situated, states the following claims for relief:

                                     Introduction

1.     This class action complaint is filed for violations of the Equal Credit

       Opportunity Act (“ECOA”), 15 U.S.C. § 1691 et seq.

2.     The ECOA requires that each applicant for credit, who did not receive the

       credit requested or upon substantially the same terms requested, be provided

       with a statement of reasons for such action from the creditor. 15 U.S.C §

       1691(d).

3.     A statement of reasons meets the requirements of the ECOA “only if it contains

       the specific reasons for the adverse action taken.” 15 U.S.C § 1691(d)(3).
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4.   The statement of reasons for adverse action required by the ECOA “must be

     specific and indicate the principal reason(s) for the adverse action. Statements

     that the adverse action was based on the creditor’s internal standards or policies

     or that the applicant, joint applicant, or similar party failed to achieve a

     qualifying score on the creditor’s credit scoring system are insufficient.” 12

     C.F.R. 202.9(b)(2).

                                   Jurisdiction

5.   This Court has jurisdiction under the ECOA, 15 U.S.C. § 1691 et seq, as well

     as under 28 U.S.C. § 1331 and § 1337.

                                      Venue

6.   The transactions and occurrences which give rise to this action occurred in

     Wayne County, Michigan.

7.   Venue is proper in the Eastern District of Michigan.

                                      Parties

8.   The Plaintiff to this lawsuit is Cynthia Archer-Gift (“Mrs. Archer-Gift”), a

     natural person and resident of Wayne County, Michigan.

9.   The Defendants to this lawsuit are:

     a.    Citigroup, Inc. (“Citigroup”), a foreign corporation doing business in

           Michigan that is a creditor for purposes of the ECOA;

     b.    The Home Depot, Inc. (“Home Depot”), a foreign corporation doing
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             business in Michigan that is a creditor for purposes of the ECOA; and

      c.     Sears, Roebuck and Co. (“Sears”), a foreign corporation doing business

             in Michigan that is a creditor for purposes of the ECOA.

           Factual Allegations as to the Home Depot/Citigroup Denial

10.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

11.   On or about February 11, 2014, Mrs. Archer-Gift went to Home Depot for the

      purpose of purchasing a washing machine.

12.   At that time, Mrs. Archer-Gift completed a credit application for a Home Depot

      credit account operated jointly with Citigroup.

13.   Home Depot and Citigroup have entered a joint venture to provide Home

      Depot-branded credit cards through Citigroup.

14.   These credit cards are valid only at stores affiliated with Home Depot, and

      administered to by Citigroup.

15.   All materials associated with this card bear the branding of Home Depot.

16.   Mrs. Archer-Gift provided all required information.

17.   An agent of Home Depot input Mrs. Archer-Gift’s information into its system

      and verbally informed Mrs. Archer-Gift that she was denied credit for purchase

      of the washing machine.

18.   On February 24, 2014, Home Depot Credit Services sent a letter to Mrs.

      Archer-Gift stating that the credit center was unable to complete processing of
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      her application, and that she would receive a written notification within 7-10

      days with the results of the credit review.

19.   Neither Home Depot nor Citigroup sent Mrs. Archer-Gift any notice of adverse

      action.

20.   Mrs. Archer-Gift never received that written notification, or any other

      correspondence from Home Depot or Citigroup regarding the denial of her

      credit application.

21.   Both Citigroup and Home Depot participated in the credit decision as to the

      terms of credit which would potentially be made available to Mrs. Archer-Gift.

22.   Both Citigroup and Home Depot are “creditors” as that term is defined in 15

      U.S.C. § 1691a(e).

23.   Both Citigroup and Home Depot failed to send an adverse action notice

      following the rejection of the application, within the time allowed by the

      ECOA, or at all.

24.   Both Citigroup and Home Depot failed to issue any adverse action notices

      under the ECOA.

                 Factual Allegations as to the Sears/Citigroup Denial

25.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

26.   On July 5, 2013, Mrs. Archer-Gift went to Sears for the purpose of purchasing

      a stove.
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27.   At that time, Mrs. Archer-Gift completed a credit application for a Sears credit

      card, operated jointly with Citigroup.

28.   Sears and Citigroup have entered a joint venture to provide Sears-branded

      credit cards through Citigroup.

29.   These credit cards are valid only at stores affiliated with Sears, and

      administered to by Citigroup.

30.   All materials associated with this card bear the branding of Sears.

31.   Mrs. Archer-Gift provided all required information.

32.   An agent of Sears input Mrs. Archer-Gift’s information into its system and

      verbally informed Mrs. Archer-Gift that she was denied credit for purchase of

      the stove.

33.   Both Citigroup and Sears participated in the credit decision as to the terms of

      credit which would be made available to Mrs. Archer-Gift.

34.   Both Citigroup and Sears are “creditors” as that term is defined by 15 U.S.C.

      § 1691a(e).

35.   Both Citigroup and Sears failed to send an adverse action notice following the

      rejection of the application within the time allowed by the ECOA, or at all;

      alternatively, Citigroup and Sears sent an adverse action notice which did not

      conform to the requirements of the ECOA and its regulations.

36.   Both Citigroup and Sears refused to provide Mrs. Archer-Gift with a written
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      explanation of the reasons for denial and refused to provide a copy of the credit

      report which was used to deny the credit application.

                      Practices and Policies of Defendants

37.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.

38.   It is or was the practice and policy of Defendants Home Depot and Sears to:

      a.    Jointly issue store credit cards with Citigroup.

      b.    To rely upon Citigroup for the processing of applications and compliance

            with the ECOA.

39.   It is or was the practice and policy of Defendant Citigroup to:

      a.    Take adverse action for purpose of the ECOA as to consumers without

            sending appropriate notices under the ECOA.

      b.    Fail to send adverse action notices when otherwise required under the

            ECOA.

      c.    To issue adverse action notices which fail to meaningfully state the

            reasons for adverse action.

      d.    To use standardized adverse action “reasons” which did not comply with

            the requirement of the ECOA that creditors must accurately and

            meaningfully communicate the reasons for denial.

                                 Class Allegations

40.   Mrs. Archer-Gift incorporates the proceeding allegations by reference.
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41.   Defendants failed to give adverse action notices to Mrs. Archer-Gift and the

      class members when so required under the ECOA.

42.   Each Defendant failed to maintain records of its compliance with the ECOA

      with regard to the class members.

43.   Mrs. Archer-Gift brings this action on behalf of herself and a class of all other

      persons similarly situated, pursuant to Fed.R.Civ.P.23.

44.   Mrs. Archer-Gift proposes to represent the following classes:

      a.    Class 1 ECOA – (i) All persons in the state of Michigan for whom Home

            Depot and Citigroup have a record of an application for a Home Depot

            store credit account through Citigroup within the preceding five (5)

            years; (ii) for whom Home Depot and Citigroup have no record of

            offering credit on substantially the same terms as requested; (iii) for

            whom Home Depot and Citigroup have no record of an accepted offer

            of credit relative to the application, and (iv) for whom Home Depot and

            Citigroup have no record of mailing any ECOA adverse action notice.

      b.    Class 2 ECOA – (i) All persons in the state of Michigan for whom Sears

            and Citigroup have a record of an application for a Sears store credit

            account through Citigroup within the preceding five (5) years; (ii) for

            whom Sears and Citigroup have no record of offering credit on

            substantially the same terms as requested; (iii) for whom Sears and
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            Citigroup have no record of an accepted offer of credit relative to the

            application, and (iv) for whom Sears and Citigroup have no record of

            mailing any ECOA adverse action notice.

      c.    Class 3 ECOA – (I) All persons in the United States for whom Citigroup

            has a record of an application for a credit account through Citigroup

            within the preceding five (5) years; (ii) to whom Citigroup did not offer

            credit; and (iii) to whom Citigroup has records of an adverse action

            notice stating: “We have denied your application due to the following

            reasons: ! Unable to comply with consumer statement”.

45.   The classes of persons to be represented are so numerous that joinder of all

      members is impractical.

46.   This complaint seeks monetary damages under Fed.R.Civ.P. 23(b)(3).

47.   There are questions of law and fact common to the classes.

48.   Mrs. Archer-Gift’s claims are typical of the claims of all the potential class

      members and all are based on the same legal and remedial theories.

49.   Mrs. Archer-Gift will fairly and adequately protect the interest of the classes.

      Specifically:

      a.    Mrs. Archer-Gift has no adverse interest to the classes.

      b.    Mrs. Archer-Gift has retained counsel who is experienced in handling

            class actions and litigation under various Federal Consumer Credit
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             Protection Acts.

       c.    Mrs. Archer-Gift has suffered similar injuries to the members of the

             classes she seeks to represent through this action.

       d.    Neither Mrs. Archer-Gift nor her counsel have any interests which may

             cause them to not vigorously pursue this action.

50.    Certification of the classes under Rule 23(b)(3) of the Federal Rules of Civil

       Procedure is appropriate in that:

       a.    The questions of law or fact common to the members of the classes

             predominate over any questions affecting an individual member.

       b.    A class action is superior to other available methods for the fair and

             efficient adjudication of the controversy because no individual class

             member could be expected to hold a strong interest in individually

             controlling the prosecution of separate claims against Defendants

             because the claim amounts are likely small, and involve statutory

             damages under the ECOA, and because management of these claims will

             likely present few difficulties.

51.    There is no impediment to certification of the classes to be represented.

       COUNT I –Class Claims under the Equal Credit Opportunity Act
                            (All Defendants)

52.    Mrs. Archer-Gift incorporates the proceeding allegations by reference.
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53.    Defendants have violated the ECOA in relation to Mrs. Archer-Gift and the

       class members.

54.    Defendants have inadequate policies or procedures in place to comply with the

       ECOA’s adverse action notice requirements.

55.    Mrs. Archer-Gift and the members of the Classes have suffered injury as a

       result of these violations of the ECOA and a denial of their rights under that

       Act.

  COUNT II –Class Claims under the Equal Credit Opportunity Act as an
                     Alternative Claim to Count I
                             (Citigroup)

56.    Mrs. Archer-Gift incorporates the proceeding allegations by reference.

57.    Citigroup has violated the ECOA in relation to Mrs. Archer-Gift and the class

       members by preparing adverse action notices stating: “We have denied your

       application due to the following reasons:           ! Unable to comply with

       consumer statement”.

58.    These adverse action notices fail to adequately identify the reasons for adverse

       action.

59.    Citigroup has inadequate policies or procedures in place to comply with the

       ECOA’s adverse action notice requirements.

60.    Citigroup has violated the ECOA.

61.    Mrs. Archer-Gift and the members of the Classes have suffered injury as a
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       result of these violations of the ECOA and a denial of their rights under that

       Act.

                                      Jury Demand

62.    Mrs. Archer-Gift demands trial by jury in this action.

                                    Request for Relief

       WHEREFORE, Plaintiff, on her own behalf and on behalf of the members of

       the Classes, requests that this Honorable Court grant the following relief:

       a.     Certify the proposed Classes.

       b.     Appoint Plaintiff as representative of the Classes.

       c.     Appoint the undersigned counsel as counsel for the Classes.

       d.     Award Plaintiff and Classes statutory, punitive damages.

       e.     Award Plaintiff and Classes equitable relief.

       f.     Award Plaintiff and Classes attorney’s fees and costs, as allowed by law

              and/or equity.

       g.     Grant Plaintiff leave to amend this complaint to conform to the evidence

              presented at trial.

       h.     Any other relief as the Court deems necessary, just and proper.




                                           Respectfully Submitted,
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                                      s/ Michael J. Bonvolanta
                                      Michael J. Bonvolanta (P-80038)
                                      LYNGKLIP & ASSOCIATES
                                      CONSUMER LAW CENTER, PLC
                                      Attorney for Cynthia Archer-Gift
                                      24500 Northwestern Highway, Ste. 206
                                      Southfield, MI 48075
                                      PHONE: (248) 208-8864
                                      MichaelB@MichiganConsumerLaw.Com

Dated: April 4, 2016
